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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                   IN THE UNITED STATES DISTRICT COURT                              May 28, 2021
                   FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                            HOUSTON DIVISION

KELLY MCMINN a/k/a                           §
CAMILLA/KAYMA,                               §
                                             §
      Plaintiff,                             §
                                             §
v.                                           §    CIVIL ACTION NO. H-20-1246
                                             §
D. HOUSTON, INC. d/b/a                       §
TREASURES, ALI DAVARI,                       §
HASSAN DAVARI, and                           §
BILL DOE,                                    §
                                             §
      Defendants.                            §


                           MEMORANDUM OPINION AND ORDER

      Plaintiff, Kelly McMinn ("McMinn"), filed this action against

defendants, D. Houston, Inc., d/b/a Treasurers, Ali Davari, Hassan

Davari,   and Bill Doe          ("Defendants"),         for damages resulting from

Defendants     violating        the   mandatory         minimum   wage   and      overtime

provisions of the Fair Labor Standards Act                        ("FLSA"),    2 9 U.S.C.

§ 216 (b),    and illegally absconding with the Plaintiff's tips.

Pending before the court is Defendants' Motion to Strike Untimely

Consent to Join Forms and Dismiss Opt-In Plaintiffs for Improper

Joinder    ("Defendants' Motion to Strike") (Docket Entry No.                             23),

Plaintiff's Response in Opposition to Defendants' Motion to Strike

Consent Forms         &   to Dismiss Opt-In             Plaintiffs and        Plaintiff's

Opposed      Motion       for   Leave   to       File    First     Amended      Complaint

("Plaintiff's Response in Opposition and Motion to Amend") (Docket

Entry No. 24), and Defendants' Reply in Support of Motion to Strike

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and Response to Plaintiff's Motion for Leave to File First Amended

Complaint ("Defendants' Reply") ( Docket Entry No. 27).             For the

reasons stated below, Defendants' Motion to Strike will be granted,

and Plaintiff's Motion to Amend will be denied.



                                    I. Background

        Alleging that from approximately May 2019 through July 2019

she worked as an exotic dancer at Treasurers, 1 where Defendants

wrongfully misclassified her as an independent contractor not

entitled to minimum wages and overtime pay required by the FLSA, 2

Plaintiff filed this action on April 8, 2020, "individually and on

behalf of all others similarly situated." 3

        In the Joint Discovery/Case Management Plan filed on July 21,

2020,       in response to the directive to "[d] escribe class-action

issues,      11   the parties represented that "Plaintiff will move for

conditional certification." 4

        On July 24, 2020, the court entered the Docket Control Order

("DCO"), which sets October 2, 2020, as the deadline for filing

motions to amended pleadings and motions to add parties; June 11,



        1
         Plaintiff's Original Complaint, Docket Entry No. 1, p. 8
':II 32.   Page numbers for docket entries refer to the pagination
inserted at the top of the page by the court's electronic filing
system.
        2
            Id. at 1-2 ':II 2.
                  at 1.   See also id. at 16-18 'Il'Il 79-95.
        4
            Docket Entry No. 16, p. 2 ':II 8.
                                           2
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2021, as the deadline for completing discovery; and August 13,

2021, as the date for Docket Call. 5

     On November 12, 2020, over one month after the deadline for

motions to add new parties, Plaintiff's counsel filed a "Consent

Form for Wage Claim" on behalf of Mary Stumbaugh, which stated that

"[t]o the best of my knowledge, I meet the following criteria: I

worked for Treasures as a dancer at some point between September

2019 and July 2020." 6     On December 4, 2020,                        Plaintiff's counsel

filed a second "Consent Form for Wage Claim" on behalf of Kiersten

Middaugh, which stated that "[t]o the best of my knowledge, I meet

the following criteria: I worked for Treasures as a dancer at some

point between 2015 through 2019." 7                       Both Stumbaugh and Middaugh

also stated that "[i]f my consent form is stricken or if I am for

any reason not allowed to participate in this case,                            I authorize

Plaintiffs' counsel to use this Conient Form to re-file my claims

in a separate or related action against my employer." 8

     On March 30, 2021, over five months after the deadline for

motions to add new parties, Plaintiff's counsel filed a "Consent

Form for Wage Claim" on behalf of Lorenza Lombana, which stated

that "[t]o the best of my knowledge, I meet the following criteria:


     5
         Docket Entry No. 19, pp. 1-2         <_I[ <_I[   1-2, 6, and 12.
     6
         Docket Entry No. 20-1,   <_I[   3.
     7
         Docket Entry No. 21-1,   <_I[   3.
     8
         Docket Entry Nos. 20-1 and 21-1,                  <_I[   4.
                                          3
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I worked for Treasures as a dancer at some point between July 2017

through 2018." 9          Like Stumbaugh and Middaugh, Lombana states that

"[i]f my consent form is stricken or if I am for any reason not

allowed to participate in this case,                I   authorize   Plaintiffs'

counsel to use this Consent Form to re-file my claims in a separate

or related action against my employer. 1110

         Defendants urge the court to strike all three consent forms,

and to dismiss the opt ins from this action without prejudice as

improperly joined under Federal Rule of Civil Procedure 21.11

         Plaintiff responds by asking the court to deny Defendants'

Motion to Strike, and by filing Plaintiff's Motion for Leave to

File an Amended Complaint joining the three opt-ins as additional

plaintiffs in this case. 12           Citing Federal Rules of Civil Procedure

16 (b)        and 20 (a) (1) ,   Plaintiff argues that good cause exists to

allow her amendment and that

         there is no evidence that Defendants will be prejudiced
         by any delay that may result from the late joinder of
         these plaintiffs, particularly in light of the fact that
         the parties have recently agreed to a 45-day extension of
         the discovery deadline and other pretrial deadlines to
         allow the parties to complete outstanding discovery. 13

         9 Docket    Entry No. 22-1, � 3.
         10
              rd. � 4.

         11 Defendants'     Motion to Strike, Docket Entry No. 23, p. 8.
      Plaintiff's Response in Opposition and Motion to Amend,
         12

Docket Entry No. 24, p. 2.    See also Plaintiff's First Amended
Complaint, Docket Entry No. 24-2.
         13
              Id.   See also id. at 6 ("Defendants will not be prejudiced
                                                            (continued... )

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                               II.     Standard of Review

        If a scheduling order has been entered establishing a deadline

for amendments to pleadings, Federal Rule of Civil Procedure 15(a)

provides the standard for requests to amend that are filed before

the scheduling order's deadline has expired, and Federal Rule of

Civil Procedure 16(b) provides the standard for requests to amend

that are filed after the scheduling order's deadline has expired.

See Marathon Financial Insurance, Inc., v. Ford Motor Co., 591 F.3d

458, 470 (5th Cir. 2009).                 Because a scheduling order has been

entered in this case,                and because Plaintiff filed the pending

Motion to Amend on April 30,                2021,    over six months after the

scheduling           order's   deadline    for    filing   motions   to   amend   the

pleadings expired on October 2,                  2020,     Rule 16(b) governs the

pending Motion to Amend. 14

        "Rule 16(b) provides that once a scheduling order has been

entered,        it    'may be modified only for good cause and with the

judge's consent.'" Id.               (quoting Fed. R. Civ. P. 16(b) (4)).         "The

good cause standard requires the 'party seeking relief to show that

the deadlines cannot reasonably be met despite the diligence of the


     13 ( ••• continued)
if the amended pleading and joinder of these additional plaintiffs
is allowed because discovery has not been completed in this case,
no depositions have been taken yet, and the parties have agreed to
a 45-day extension of the discovery deadline and remaining pre­
trial deadlines.").
        14
             Docket Control Order, Docket Entry No. 19, filed on July 24,
2020.

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party    needing    the   extension.'"     S&W     Enterprises,   L.L.C.     v.

SouthTrust Bank of Alabama,          NA,   315    F.3d 533,   535 (5th Cir.

2003)(quoting 6A Charles Alan Wright, et al., Federal Practice and

Procedure§ 1522.1 (2d ed. 1990)). To determine whether the moving

party has established good cause, courts consider four factors:

"(1) the explanation for the failure to timely move for leave to

amend; (2) the importance of the amendment; (3) potential prejudice

in   allowing    the   amendment;    and    (4)    the   availability   of    a

continuance to cure such prejudice."              Marathon, 591 F.3d at 470

(quoting Southwestern Bell Telephone Co. v. City of El Paso, 346

F.3d 541, 546 (5th Cir. 2003) (citing S&W Enterprises, 315 F.3d at

536)).    If a movant establishes good cause to extend the scheduling

order, courts analyze the motion to amend under Rule 15(a).                  S&W

Enterprises, 315 F.3d at 536.



                               III. Analysis

        Plaintiff filed the pending motion to amend on April 30, 2021,

in response to Defendants' pending Motion to Strike.                Plaintiff

seeks leave to amend to add three additional plaintiffs, Stumbaugh,

Middaugh, and Lombana.       Plaintiff argues that there is good cause

for her late amendment because the joinder deadline passed in the

months leading up to the issuance of the Fifth Circuit's opinion in

Swales v. KLLM Transportation Services, L.L.C., 985 F.3d 430, 434

{5th Cir. 2021), which rejected the commonly accepted standard for


                                       6
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conditional certification under the FLSA established in Lusardi v.

Xerox Corp., 118 F.R.D. 351 (D.N.J. 1987).        Asserting that "Swales

drastically altered the landscape of wage and hour litigation in

the Fifth Circuit," 15 Plaintiff argues that

     [a] s a result, plaintiffs in pending FLSA collective
     actions, like McMinn, were forced to reassess and
     reevaluate    their   ability    to   seek    conditional
     certification of a collective action under the FLSA. The
     sweeping effect of the Swales opinion justifiably gives
     Plaintiff pause in seeking conditional certification of
     her collective action claims. Notwithstanding, since the
     Court has not yet issued a deadline for Plaintiff to file
     its motion for certification or notice in this case,
     Plaintiff rejects Defendants' attempt to impose an
     arbitrary deadline by which Plaintiff was purportedly
     required to make this showing. Thus, although Plaintiff
     does not intend to seek conditional certification of her
     collective action at this time, Plaintiff maintains that
     she may exercise her right to do so until such time that
     the Court has issued a deadline for the making of such
     motion.   Notably, but for nonbinding authorities from
     district courts in other jurisdictions, Defendants fail
     to cite any authority for its proposition that time for
     Plaintiff to seek conditional certification and make the
     requisite "similarly situated" showing has passed.
     Defendants seek to impose an arbitrary deadline on
     Plaintiff and opt-in plaintiffs right to pursue their
     claims as a collective action when this matter is solely
     within the discretion of this Court, which, to date, has
     not issued any deadline for Plaintiff to file or bring a
     motion for notice or conditional certification. In light
     of the parties' agreement to extend the discovery
     deadline and all pretrial deadlines for 45-days,
     dismissal   of    the  opt-ins   for   this   reason   is
     inappropri�te. 16




      Plaintiff' s Response in Opposition and Motion to Amend,
     15

Docket Entry No.. 24, p. 3.

     16Id.


                                     7
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Asserting that " [ i] f the outcome Defendants seek is permitted,

Plaintiff and the opt-ins will suffer undue prejudice and unfair

surprise in the pursuit of their claims unjustifiably and without

fair notice and hearing," 17 Plaintiff

     asks the Court to reject Defendants' motion to dismiss
     the opt-ins in this case and issue an order providing a
     deadline by which Plaintiff must either file her motion
     for conditional certification or motion for notice or
     notify the Court of her intention not to pursue her FLSA
     claims as a collective action. 18

     Defendants argue that neither Plaintiff's indecision, the

scheduling order's lack of a certification deadline, the Fifth

Circuit's issuance of the Swales opinion, nor Plaintiff's failure

to pursue discovery constitutes          "good cause" for      Plaintiff's

untimely motion to file an amended complaint to add new parties. 19

Defendants argue that Plaintiff cannot show good cause to amend

because she has no reasonable explanation for her delay in seeking
to amend,     and she has had more than enough time to. weigh and

execute her procedural options. 20




     17


     18
          Id. at 3-4.
     19
          Defendants' Reply, Docket Entry No. 27, pp. 3-6.


                                     8
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A.    Plaintiff Has No Reasonable Explanation for Delay

      Plaintiff has neither argued nor cited any evidence from which

the court could conclude that she was not aware of the plaintiffs

she seeks to join before the deadline for adding parties expired,

or that if she had acted diligently she could not have learned of

them in time to meet the deadline of October 2, 2020, for filing

motions to amend pleadings and add new parties.           Instead, Plaintiff

argues that "the sweeping effect of the Swales opinion justifiably

gives Plaintiff pause in seeking conditional certification of her

collective action claims." 21

      The Fifth Circuit issued the Swales opinion on January 12,

202·1, over three months after the date for filing motions to amend

and add new parties expired on October 2, 2020, over two months

after Plaintiff's counsel filed the "Consent Form for Wage Claim"

for Stumbaugh on November 12, 2020, and over one month after

Plaintiff's counsel filed the "Consent Form for Wage Claim" for

Middaugh on December 4, 2020.           Although Plaintiff states that she

"does        not   intend   to   seek   conditional   certification   of     her

collective action at this time," 22 she fails to offer any reason why

she waited until April 30, 2021, to file her Motion to Amend.                The

court is therefore persuaded that plaintiff has no reasonable

explanation for delay in seeking leave to amend to add new parties,


      Plaintiff's Response in Opposition and Motion to Amend,
        21

Docket Entry No. 24, p. 3.

        22Id.

                                          9
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and that this factor weighs in favor of granting Defendants' Motion

to Strike and denying Plaintiff's Motion to Amend.



B.     Plaintiff Has Failed to Show that Joinder Is Important

       Plaintiff has neither argued nor cited any evidence from which

the court could conclude that the proposed addition of three new

plaintiffs is important, or that Plaintiff or any of the three

proposed additional plaintiffs will be unjustly prejudiced if

Plaintiff's Motion to Amend is denied.         The First Amended Complaint

that Plaintiff seeks leave to file does not allege new conduct, new

causes of action, or new theories of recovery. 23              Moreover, all

three of the proposed plaintiffs have stated that "[i]f my consent

form is stricken or if           I   am for any reason not allowed to

participate in this case, I authorize Plaintiffs' counsel to use

this Consent Form to re-file my claims in a separate or related

action against my employer. " 24      Because Plaintiff seeks only to add

new plaintiffs, and does not seek to add new causes of action or
new theories of recovery, and because each of the three proposed

plaintiffs have authorized Plaintiff's counsel to file suit for

them individually if Plaintiff's Motion to Amend is denied, the

court concludes that plaintiff has failed to show that the proposed
joinder is important, or that she or any of the three proposed new


       23
            Plaintiff's First Amended Complaint, Docket Entry No. 24-2.
       24
            Docket Entry Nos. 20-1, � 4; 21-1, � 4; and 22-1, � 4.
                                       10
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plaintiffs would be prejudiced if her motion to amend is denied.

The court is therefore persuaded that the importance factor weighs

in favor of granting Defendants' Motion to Strike and denying

Plaintiff's Motion to Amend.



C.     The Potential Prejudice to the Defendants Cannot Be Cured by
       a Continuance

       Plaintiff argues that

       there is no evidence that Defendants will be prejudiced
       by any delay that may result from the late joinder of
       these plaintiffs, particularly in light of the fact that
       the parties have recently agreed to a 45-day extension of
       the discovery deadline and other pretrial deadlines to
       allow the parties to complete outstanding discovery.25

Citing Plaintiff's request for an "order providing a deadline by

which Plaintiff must file her motion for conditional certification

        or notify the Court of her intention . . . " 26 Defendants argue

that "[t]he effect of such an order would no doubt require months

of additional discovery,        brand new briefing deadlines,         and the

postponement of trial well into next year.            Defendants should not

be penalized for [Plaintiff's] inaction." 27           Quoting Waobikeze v.


      Plaintiff's Response in Opposition and Motion to Amend,
       25

Docket Entry No. 24, p. 2. See also id. at 6 ("Defendants will not
be prejudiced if the amended pleading and joinder of these
additional plaintiffs is allowed because discovery has not been
completed in this case, no depositions have been taken yet, and the
parties have agreed to a 45-day extension of the discovery deadline
and remaining pre-trial deadlines.").
       26
            Id. at 3-4.
       27
            Defendants' Reply, Docket Entry No. 27,        pp. 4-5 (quoting
                                                              (continued...)

                                       11
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Texas Educational Foundation,          Inc., Civil Action No. H-15-0971�

2016 WL 7742815, at *1 (S.D. Tex. March 15, 2016), Defendants argue

that "[a]ny certification at this point, conditional or otherwise,

would be unduly prejudicial to defendant and cause unreasonable

delay in the trial of this action." 28

     Plaintiff's statement that she               "does not intend to seek

conditional certification of her collective action at this time,

[but] maintains that she may exercise her right to do so until such

time that the Court has issued a deadline for making of such a

motion," 29 all but concedes that granting her motion to amend will

prejudice         defendants   and   needlessly    consume   scarce   judicial

resources by requiring not just new pleadings, but also a new

scheduling order that will delay the resolution of the case.               This

action has been pending for over a year.            The deadlines for filing

amended pleadings and adding new parties was October 2, 2020; the

deadline for identification of experts and production of expert

reports by the party with the burden of proof was March 1, 2021;

and the deadline for the identification of responsive experts and

production        of   response   experts'   reports   was   April    2,   2021.

Although the Docket Control Order does not state a specific date


     27
          continued)
          ( •••
Plaintiff's Response in Opposition and Motion to Amend, Docket
Entry No. 24, pp. 3-4).
     28
          Id. at 5.

      Plaintiff's Response in . Opposition and Motion to Amend,
     29

Docket Entry No. 24, p. 3.

                                        12
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for filing a motion for collective action treatment, the time for

doing expired along with the deadline for filing motions to amend

and add new parties.              See Gallender v.      Empire Fire and Marine

Insurance Co., Civil Action No. 5:05cv220, 2007 WL 325792, at *2

(S.D. Miss. January 31, 2007) ("Since the deadline for filing a

motion for joinder has passed, so too has the plaintiff's ability

to file for certification of a collective action.").

      The deadline for completion of discovery is June 11, 2021, for

submission of the Joint Pre-Trial Order is August 6,                    2021,    and

Docket        Call   is    set   for   August   13,   2021. 30   Yet,   plaintiff

acknowledges that little, if any, discovery has taken place.31                   The

court is not persuaded that the time for filing pleadings, adding

new   parties,       and    seeking    conditional    certification     should    be

reopened to accommodate the Plaintiff's lack of diligence in this

case.        Allowing the proposed amendment would not only require the

court to abandon all established deadlines in this case, but would

also delay the trial and thereby prejudice the defendants and the

court.        The court thus concludes that the potential prejudice to

the defendants in allowing the amendment cannot be cured by a

continuance.         Accordingly, the third and fourth factors regarding

prejudice weigh in favor of granting Defendants' Motion to Strike

and denying Plaintiff's Motion to Amend.


        30
             Docket Control Order, Docket Entry No. 19.

      Plaintiff's Response in Opposition and Motion to Amend,
        31

Docket Entry No. 24, p. 5 ("The parties have not completed
discovery in this case and, in fact, no depositions have been
scheduled or taken, to date.").

                                           13
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D.      Conclusions

        For   the    reasons    stated    above,    the      court   concludes       that

plaintiff has failed to establish good cause as required by Rule

16(b) (4) to amend her pleadings after the deadline for doing so

established by the court's scheduling order has expired because she

has failed to establish a reasonable explanation for the delay,

that the proposed amendments are important,                    that the defendants

will not be prejudiced,            or that a continuance would cure the

prejudice to defendants.          See Fed. R. Civ. P. 16(b) (4).                This case

will proceed as an individual action by Plaintiff McMinn.



                                        IV. Order

        For the reasons stated in§ III, above, Defendants' Motion to

Strike Untimely Consent to Join Forms and Dismiss Opt-In Plaintiffs

for    Improper      Joinder,    Docket     Entry   No.      23,   is    GRANTED,     and

Plaintiff's         Opposed    Motion    for    Leave   to    File      First    Amended

Complaint, Docket Entry No. 24, is DENIED.

        SIGNED at Houston, Texas, on this 28th                          May, 2021.




                                                      SIM LAKE
                                         SENIOR UNITED STATES DISTRICT JUDGE




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